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 1   JOHN R. MANNING (SBN 220874)
     LAW OFFICE OF JOHN R. MANNING
     1111 “H” Street, Suite 204
 2

 3   Sacramento, CA. 95814
     (916) 444-3994
 4   Fax (916) 447-0931
 5
     Attorney for Defendant
 6   RONALD REEVES

 7
                           IN THE UNITED STATES MAGISTRATE COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       ) CR NO. S-11-365 GEB
11                                                   )
            Plaintiff,                               )
12                                                   ) STIPULATION AND [PROPOSED] ORDER
                                                     ) TO MODIFY CONDITIONS OF RELEASE
     v.                                              )
13
                                                     )
14   RONALD REEVES,                                  )
                                                     )
                                                     )
15          Defendant.                               )
16
                                                     )
                                                     )
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                                                     )

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            Ronald Reeves, by and through his attorney, John R. Manning, and the United States of
19

20   America, by and through its counsel, Daniel S. McConkie, and Pretrial Services Officer Steven

21   Sheehan, hereby jointly agree and stipulate to amend the defendant’s conditions of release as
22
     follows:
23
            “You shall participate in a cognitive behavior treatment program as directed by the
24
     Pretrial Services Officer. Such programs may include group sessions led by a counselor or
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26   participation in a program administered by the Pretrial Services office.”

27          Accordingly, all parties and Mr. Reeves agree with the above modifications.
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 1   Dated: December 19, 2012            Respectfully submitted,
 2
                                         /s/ John R. Manning
 3
                                         JOHN R. MANNING
 4                                       Attorney for Defendant
                                         Ronald Reeves
 5
                                         /s/ Daniel S. McConkie
 6
                                         DANIEL S. McCONKIE
 7                                       Assistant U.S. Attorney

 8   IT IS SO ORDERED.
 9
     Dated:
         ` January 14, 2013.
10                                     ALLISON CLAIRE
11
                                       UNITED STATES MAGISTRATE JUDGE

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